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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 GALEN L. BYERS,                            )
                                            )
              Plaintiff,                    )
                                            )
       vs.                                  ) 1:02-CV-2004-JDT-WTL
                                            )
 ALUMINUM FOUNDRIES, INC.;                  )
 AMERICAN FLINT GLASS                       )
 WORKERS UNION, AFL-CIO and its             )
 affiliated LOCAL UNION NO. 726,            )
                                            )
              Defendants.                   )


                     JUDGMENT IN FAVOR OF ALL DEFENDANTS

       Defendant Aluminum Foundries, Inc. correctly pointed out that it joined in the

 Motion to Dismiss. Therefore, Aluminum Foundries’ motion to correct the Motion to

 Dismiss is GRANTED as to all Defendants.

       IT IS ORDERED, ADJUDGED AND DECREED that this cause of action is

 DISMISSED with prejudice as to all Defendants. Costs are awarded in favor of the

 Defendants and against the Plaintiff.

       ALL OF WHICH IS ORDERED this 16th day of June 2004.




                                         John Daniel Tinder, Judge
                                         United States District Court
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